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8                              UNITED STATES DISTRICT COURT
9                            CENTRAL DISTRICT OF CALIFORNIA
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11    Z.B., et al.,                                    Case No. 2:24-cv-06190-FLA (DFMx)
12                               Plaintiffs,
                                                       ORDER GRANTING PLAINTIFFS’
13                    v.                               MOTION TO REMAND [DKT. 14]
14
      DELTA AIR LINES, INC., et al.,
15
                                 Defendants.
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17
18                                             RULING
19           Before the court is Plaintiffs Z.B., J.B., and S.S.’s (collectively, “Plaintiffs”)
20    Motion to Remand Action to State Court (“Motion”). Dkt. 14 (“Mot.”). Defendants
21    Delta Air Lines, Inc. (“Delta”) and Brian Patrick Durning in pro se (“Durning”)
22    (collectively, “Defendants”) oppose the Motion. Dkt. 23 (“Delta Opp’n”); Dkt. 41
23    (“Durning Opp’n”). On November 13, 2024, the court found this matter appropriate
24    for resolution without oral argument and took the matter under submission. Dkt. 44;
25    see Fed. R. Civ. P. 78(b); Local Rule 7-15.
26           For the reasons stated herein, the court GRANTS the Motion and REMANDS
27    the action to the Los Angeles County Superior Court.
28    ///

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1                                        BACKGROUND
2           Plaintiffs allege Durning harassed, threatened, and sexually assaulted and
3     battered Z.B. during an overnight flight from Los Angeles, California, to Orlando,
4     Florida, operated by Delta. Dkt. 1-1 at 12–13 ¶¶ 1–4, 17–18 ¶ 23.1 Z.B. was 13 years
5     old at the time of the flight, and was unable to cry out for help due to her selective
6     mutism. Id. at 13 ¶ 3, 17 ¶ 24. According to Plaintiffs, a female passenger noticed the
7     sexual assault and sought Delta’s intervention, but Delta did not restrain Durning or
8     move him to the back of the plane, and only moved him to an aisle seat two rows
9     diagonally across from Plaintiffs from which he continued to harass Plaintiffs. Id. ¶ 5.
10          On January 30, 2024, Plaintiffs filed the Complaint in the Los Angeles County
11    Superior Court, asserting five causes of action against Delta for: (1) intentional
12    infliction of emotional distress; (2) gross negligence; (3) negligence; (4) negligent
13    infliction of emotional distress; and (5) violation of California Business & Professions
14    Code § 17200, et seq. (the California Unfair Competition Law); and four causes of
15    action against Durning for: (1) assault; (2) sexual battery; (3) battery; and (4)
16    intentional infliction of emotional distress. Id. at 20–32.
17          On March 18, 2024, Delta removed the action to this court, based on alleged
18    diversity jurisdiction under 28 U.S.C. § 1332(a). Case No. 2:24-cv-02178-FLA
19    (DFMx), Dkt. 1 ¶¶ 11–12. On April 15, 2024, the court remanded the action for lack
20    of subject matter jurisdiction, finding Delta failed to establish by a preponderance of
21    the evidence that the amount in controversy exceeded $75,000. Id., Dkt. 37.
22          On July 24, 2024, Delta removed the action again in the subject action, based
23    on alleged diversity jurisdiction under 28 U.S.C. § 1332(a). Dkt. 1. Plaintiffs now
24    move to remand the action for lack of complete diversity.
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       The court cites documents by the page numbers added by the court’s CM/ECF
28    System, rather than any page numbers included natively.

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1                                          DISCUSSION
2     I.    Legal Standard
3           Federal courts are courts of “limited jurisdiction,” possessing “only that power
4     authorized by [the] Constitution and statute, which is not to be expanded by judicial
5     decree.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994)
6     (citations omitted); U.S. Const. art. III, § 2, cl. 1. District courts are presumed to lack
7     jurisdiction unless the contrary appears affirmatively from the record.
8     DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 342 n. 3 (2006).
9           Federal courts have diversity jurisdiction where each plaintiff’s citizenship is
10    diverse from each defendant’s citizenship and the amount in controversy exceeds
11    $75,000, exclusive of interest and costs. 28 U.S.C. § 1332(a). As the removing party,
12    Defendants bear the burden to justify this court’s exercise of jurisdiction. Gaus v.
13    Miles, Inc., 980 F.2d 564, 566 (9th Cir. 1992). “[A] defendant cannot establish
14    removal jurisdiction by mere speculation and conjecture, with unreasonable
15    assumptions.” Ibarra v. Manheim Invs., Inc., 775 F.3d 1193, 1197 (9th Cir. 2015).
16    “Federal jurisdiction must be rejected if there is any doubt as to the right of removal in
17    the first instance.” Gaus, 980 F.2d at 566.
18          “To demonstrate citizenship for diversity purposes a party must (a) be a citizen
19    of the United States, and (b) be domiciled in a state of the United States.” Lew v.
20    Moss, 797 F.2d 747, 749 (9th Cir. 1986). “[A] person is ‘domiciled’ in a location
21    where he or she has established a fixed habitation or abode in a particular place, and
22    intends to remain there permanently or indefinitely.” Id. at 749–50 (internal brackets
23    and quotation marks omitted). “[C]ourts have held that the determination of an
24    individual’s domicile involves a number of factors (no single factor controlling),
25    including: current residence, voting registration and voting practices, location of
26    personal and real property, location of brokerage and bank accounts, location of
27    spouse and family, membership in unions and other organizations, place of
28    employment or business, driver’s license and automobile registration, and payment of

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1     taxes.” Id. at 750. “[D]omicile is evaluated in terms of ‘objective facts,’ and …
2     statements of intent are entitled to little weight when in conflict with facts.” Id.
3     (internal quotation marks omitted). “[T]he existence of domicile for purposes of
4     diversity is determined as of the time the lawsuit is filed, and “[t]he determination of a
5     party’s domicile is a mixed question of law and fact.” Id.
6           “A change in domicile requires the confluence of (a) physical presence at the
7     new location with (b) an intention to remain there indefinitely.” Id. “[A] person’s old
8     domicile is not lost until a new one is acquired,” and “[c]ourts recognize “a
9     presumption in favor of an established domicile as against a newly acquired one.” Id.
10    at 750–51. An inmate’s forced relocation due to incarceration does not change his
11    domicile to the state of incarceration, as the inmate lacks freedom to choose his
12    residence and the forced nature of the relocation “does little to evince an intent to
13    make [the state of incarceration] his permanent home.” See Johnson v. Johnson, 615
14    Fed. App’x 430, 431 (9th Cir. 2015).
15    II.   Analysis
16          Plaintiffs contend Defendants cannot establish complete diversity of citizenship
17    exists here because Plaintiffs and Durning are all domiciled in California. Mot. at 15.
18    It is undisputed Plaintiffs are domiciled in California. See Delta Opp’n at 5. Durning
19    was arrested and convicted by a jury for one count of assault resulting in substantial
20    bodily injury to a minor and two counts of assault in United States v. Brian Patrick
21    Durning, Case No. 6:22-cr-00102-WWB-RMN-1 (M.D. Fla.) (the “criminal action”),
22    Dkt. 115,2 and is currently incarcerated in a federal correctional institution in New
23    Jersey. See Durning Opp’n at 1. For purposes of diversity jurisdiction, Durning’s
24    domicile remains unchanged from the state in which he was domiciled prior to his
25    incarceration. See Johnson, 615 Fed. App’x at 431.
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       The Eleventh Circuit affirmed Durning’s conviction in an Order dated August 22,
28    2024. Id., Dkt. 179. The Mandate issued on September 20, 2024. Id., 184.

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1           Plaintiffs present evidence Durning was domiciled in California prior to his
2     incarceration including: (1) Durning presented a California driver’s license at the time
3     of his arrest on June 24, 2022, Dkt. 14-6 at 4, Dkt. 14-7 at 2–3; (2) on June 24, 2022,
4     Durning’s attorney represented to the court during his initial appearance hearing in the
5     criminal action that his permanent address was 2044 El Molino Ave., Altadena,
6     California (the “Altadena address”), and that he would return to the Altadena address
7     if granted pretrial release, Dkt. 14-8 at 4 (“Because his stepfather [is] in California,
8     that address is his permanent address.”); (3) the court in the criminal action listed the
9     Altadena address on the Order Setting Conditions of Release and prohibited Durning
10    from changing his residence without advance approval from the U.S. Probation and
11    Pretrial Services Office, Dkt. 14-9 at 3, and Durning acknowledged he understood
12    these conditions, Dkt. 14-8 at 5–7; (4) on June 22, 2023, after Durning was convicted
13    in the criminal action, Durning’s attorney represented to the court that Durning was a
14    resident of California and had been staying in Florida temporarily in preparation for
15    trial, Dkt. 14-5 at 21–22; (5) Durning held a valid, unexpired California realtor license
16    from 2021 through June 2, 2024, which listed the Altadena address, Dkts. 14-10, 14-
17    15; (6) at his September 26, 2023 sentencing hearing in the criminal action, Durning
18    spoke of his intent to return to Southern California after his incarceration and his
19    personal and social ties to this area, Dkt. 14-13 at 5–8; (7) in August 2022, Durning
20    listed the Altadena address when completing the Family Law Financial Affidavit in
21    connection with the divorce action brought by his now ex-wife, Dkt. 14-12 at 13; (8)
22    Durning’s profile on LinkedIn states he has worked in various positions in California
23    since 2015, Dkt. 14-11 at 2–3; and (9) Durning stated in an e-mail to Delta, dated July
24    22, 2024, that, “[b]ecause [he] was in fact domiciled in the State of California at the
25    time of [his] trial and surrender into federal prison, [he] cannot make the claim that
26    [he is] in fact a citizen of Florida,” Dkt. 23-4 at 2.
27          Defendants respond Durning was domiciled in Florida when Plaintiffs filed the
28    Complaint on January 30, 2024, because he has not been present in California

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1     physically since prior to his criminal trial in June 2023, has no existing substantive
2     ties to California, and does not intend to return to California following his release
3     from prison. Delta Opp’n at 8. According to Defendants, Durning grew up and
4     attended college in Florida, his parents live in Florida, his ex-wife and a close friend
5     live in Florida, he used a Florida address when booking the June 23, 2022 flight that
6     gave rise to this incident, and he provided police with the same Florida address at the
7     time of the incident. Id. at 8–9 (citing Dkts. 23-3, 23-5 through 23-12); Durning
8     Opp’n at 2. Defendants further note Durning requested to be incarcerated in a facility
9     in Florida. Delta Opp’n at 10 (citing Dkt. 25 (Durning Ans.) ¶ 11); Durning Opp’n at
10    2–3. The court disagrees with Defendants.
11          The evidence in the record makes clear that Durning was a resident of
12    California prior to his incarceration—as he stated repeatedly in court filings and
13    proceedings, and his July 22, 2024 e-mail to Delta. See Dkt. 14-5 at 21–22; Dkt. 14-8
14    at 4; Dkt. 14-13 at 5–8; Dkt. 23-4 at 2. Durning’s currently stated intent to relocate to
15    Florida after his release from prison is insufficient to overcome the presumption that
16    he changed his domicile from California to Florida—especially given his prior
17    repeated statements to the contrary. See Lew, 797 F.2d at 750–51. Furthermore, even
18    if the court were to assume arguendo that his stated intent to relocate to Florida is
19    genuine, his intent would be insufficient to establish he is domiciled in that state
20    currently, as he has not been located in Florida physically since his incarceration and,
21    therefore, cannot change his domicile to that state. See Lew, 797 F.2d at 750.
22          The court, therefore, finds Durning was domiciled in California when Plaintiffs
23    filed the Complaint, and that the court lacks subject matter jurisdiction over the action
24    due to lack of complete diversity between Plaintiffs and Durning. See Johnson, 615
25    Fed. App’x at 431.
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1                                        CONCLUSION
2           For the aforementioned reasons, the court GRANTS the Motion and
3     REMANDS the action to the Los Angeles County Superior Court. Having granted the
4     Motion for the reasons stated, the court need not address the parties’ remaining
5     arguments.
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7           IT IS SO ORDERED.
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9     Dated: February 18, 2025                       _______________________________
10                                                   FERNANDO L. AENLLE-ROCHA
                                                     United States District Judge
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